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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

In re                                                               Chapter 11

HO WAN KWOK                                                         Case No. 22-50073 (JAM)
a/k/a WENGUI GUO
a/k/a MILES GUO,
                               Debtor.



                        APPLICATION FOR ORDER APPROVING
                       APPOINTMENT OF A CHAPTER 11 TRUSTEE

         William K. Harrington, the United States Trustee for Region 2 (the “United States

Trustee”), through his undersigned counsel, hereby applies to this Court, pursuant to 11 U.S.C. §

1104 and Rule 2007.1 of the Federal Rules of Bankruptcy Procedure, for an Order approving the

appointment of Luc A. Despins as Chapter 11 trustee in the captioned case. In support of the

Application, the United States Trustee respectfully represents the following:

                                  I. STATEMENT OF FACTS

         1.     Ho Wan Kwok, also known as Wengui Guo, Miles Guo, and Miles Kwok, as well

as numerous other aliases (“Debtor”), filed a voluntary chapter 11 petition on February 15, 2022.

ECF 1.

         2.     By order dated April 29, 2022, the Debtor employed the firm of Brown Rudnick

LLP as his chapter 11 counsel. ECF 293.

         3.     On March 19, 2022, the United States Trustee filed a Motion for an Order

Directing the Appointment of an Examiner, or, In the Alternative, Motion for an Order Directing

the Appointment of a Chapter 11 Trustee (“UST Chapter 11 Trustee Motion”). ECF 102.




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       4.      On April 6, 2022, creditor Pacific Alliance Asia Opportunity Fund L.P. (“PAX”)

filed a Motion to Dismiss or, In The Alternative, Partial Joinder to the United States Trustee’s

Motion for an Order Directing the Appointment of a Chapter 11 Trustee (“PAX

Dismissal/Trustee Joinder Motion”). ECF 183.

       5.      On March 21, 2022, the United States Trustee appointed an Official Committee of

Unsecured Creditors (“Committee”) in this case. ECF 108. The Committee employed Pullman &

Comley, LLC as its counsel. ECF 298.

       6.      On May 25, 2022, the Court conducted a hearing on the UST Chapter 11 Trustee

Motion and PAX Dismissal/Trustee Joinder Motion. Counsel for the following participated in

the hearing: the Debtor, the United States Trustee, the Committee, and creditors PAX, Rui Ma,

Weican Meng and Zheng Wu.

       7.      On June 15, 2022, the Court entered a memorandum of decision and order (the

“Trustee Order”) directing the United States Trustee to appoint a chapter 11 trustee (the “Chapter

11 Trustee”). ECF 465.

       8.      Pursuant to 11 U.S.C.§ 1104(d), the United States Trustee has consulted the

following parties-in-interest regarding the selection of the Chapter 11 Trustee: (i) counsel to the

Committee, (ii) counsel to PAX, (iii) counsel to creditors Rui Ma, Weican Meng and Zheng Wu,

and (iv) counsel to the Debtor.

       9.      Pursuant to the Trustee Order, and after consultation with the parties-in-interest,

the United States Trustee selected Luc A. Despins as the Chapter 11 Trustee.

       10.     To the best of the United States Trustee’s knowledge, Luc A. Despins’

connections with the Debtor, creditors, any other parties-in-interest, their respective attorneys




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and accountants, the United States Trustee, and persons employed in the Office of the United

States Trustee are set forth on the Declaration of Luc A. Despins which is annexed hereto.

       11.     The United States Trustee, therefore, requests that the Court enter an order

approving the appointment of Luc A. Despins as Chapter 11 trustee in this case. A form of

proposed order is attached hereto.

       WHEREFORE, the United States Trustee respectfully requests that the Court enter an

order approving the appointment of Luc A. Despins as Chapter 11 Trustee pursuant to 11 U.S.C.

§1104(d), and grant such other relief as the Court may deem just and proper.



Dated: July 7, 2022                          Respectfully submitted,
       New Haven, Connecticut
                                             WILLIAM K. HARRINGTON
                                             UNITED STATES TRUSTEE FOR REGION 2

                                             By:     /s/ Holley L. Claiborn
                                                     Holley L. Claiborn
                                                     Trial Attorney
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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION

In re                                                                   Chapter 11

HO WAN KWOK                                                             Case No. 22-50073 (JAM)
a/k/a WENGUI GUO
a/k/a MILES GUO,

                             Debtor.



               ORDER APPROVING APPOINTMENT OF CHAPTER 11 TRUSTEE

           Upon the Application for an Order Approving the United States Trustee’s Appointment

of Chapter 11 Trustee (“Application”) pursuant to the Court’s Order dated June 15, 2022 (ECF

465) directing the United States Trustee to appoint a Chapter 11 Trustee in the above captioned

individual case of Ho Wan Kwok a/k/a Wengui Guo a/k/a Miles Guo (the “Debtor”), 1 and the

United States Trustee having selected Luc A. Despins for appointment and Luc A. Despins

having accepted appointment to serve as Chapter 11 trustee in the Debtor’s case, it is hereby

           ORDERED that, pursuant to 11 U.S.C. § 1104(d), the appointment of Luc A. Despins as

Chapter 11 trustee in the Debtor’s case is hereby approved; and it is further

           ORDERED that, within seven (7) days after his appointment, Luc A. Despins shall

obtain a bond in favor of the United States in the initial amount of $25,000.00, subject to further

increase or decrease as needed, conditioned on the faithful performance of his official duties

pursuant to 11 U.S.C. § 322(a).




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    The Debtor also uses other aliases.

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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                               BRIDGEPORT DIVISION

In re                                                               Chapter 11

HO WAN KWOK                                                         Case No. 22-50073 (JAM)
a/k/a WENGUI GUO
a/k/a MILES GUO,

               Debtor.



                                CERTIFICATE OF SERVICE

       The undersigned certifies that on the 7th day of July, 2022, the following documents
were served on all appearing parties via the court’s electronic filing system as listed in section
2 below.

   1. Documents Served

           a. Application for Order Approving Appointment of Chapter 11 Trustee
           b. Proposed order on same
           c. Declaration of Luc A. Despins

   2. Service on Luc A. Despins via email at: lucdespins@paulhastings.com

   3. Parties Served Via ECF

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Dated: July 7, 2022                         Respectfully submitted,
       New Haven, Connecticut
                                            WILLIAM K. HARRINGTON
                                            UNITED STATES TRUSTEE FOR REGION 2

                                            By:        /s/ Holley L. Claiborn
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